               Case 2:17-cv-00327-TSZ Document 77 Filed 12/26/17 Page 1 of 3




 1                                                           THE HONORABLE THOMAS S. ZILLY

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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10    HARMONY GOLD U.S.A., INC.,                         CASE NO. 2:17-cv-00327-TSZ
                             Plaintiff,                  PLAINTIFF HARMONY GOLD
11
                                                         U.S.A. INC’S NOTICE OF INTENT
             v.                                          TO FILE SURREPLY TO
12
                                                         DEFENDANTS’ REPLIES IN
      HAREBRAINED SCHEMES LLC,                           SUPPORT OF MOTION FOR
13    HAREBRAINED HOLDINGS, INC.,                        SUMMARY JUDGMENT
      JORDAN WEISMAN, PIRANHA GAMES
14    INC., INMEDIARES PRODUCTIONS,                      NOTE ON MOTION CALENDAR:
      LLC, and DOES 1–10                                 DECEMBER 22, 2017
15                       Defendants.

16

17          Pursuant to Local Civil Rule 7(g), Plaintiff Harmony Gold U.S.A., Inc. hereby gives

18   notice of its intent to file a surreply on December 27, 2017, requesting that the Court strike

19   certain material and arguments in Defendant Piranha Games Inc’s Reply in Support of Piranha’s

20   Motion for Summary Judgment as to Plaintiff’s Lack of Standing to Assert Copyright

21   Infringement Claim (Dkt. No. 72), the supporting Declaration of Todd Fairchild filed therewith

22   (Dkt. No. 73), and Harebrained Defendants’ Reply in Support of Defendant Piranha Games,

23   Inc.’s Motion for Summary Judgment (Dkt. No. 76).

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                                                                                         LAW OFFICES
     PLTF HARMONY GOLD’S NOTICE OF                                           CALFO EAKES & OSTROVSKY PLLC
     INTENT TO FILE SURREPLY                                                  1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
     (Case No. 2:17-cv-00327-TSZ) - 1                                        TEL (206) 407-2200 FAX (206) 407-2224
             Case 2:17-cv-00327-TSZ Document 77 Filed 12/26/17 Page 2 of 3




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 2   DATED: December 26, 2017.          CALFO EAKES & OSTROVSKY PLLC

 3
                                        By s/ Damon C. Elder_____________________________
 4
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 5                                        Andrew R.W. Hughes, WSBA #49515
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 9                                      LATHAM & WATKINS LLP
10

11                                      By: s/ Jessica Stebbins Bina
                                           Jessica Stebbins Bina
12                                         10250 Constellation Blvd., Suite 1100
                                           Los Angeles, CA 90067
13                                         Telephone: (424) 653-5525
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14                                         Email: jessica.stebbinsbina@lw.com
15                                      Attorneys for Plaintiff Harmony Gold U.S.A., Inc.
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                                                                                    LAW OFFICES
     PLTF HARMONY GOLD’S NOTICE OF                                     CALFO EAKES & OSTROVSKY PLLC
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              Case 2:17-cv-00327-TSZ Document 77 Filed 12/26/17 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that on December 26, 2017, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

 4   such filing to the CM/ECF participants.

 5          DATED this 26th day of December, 2017.
 6
                                                            s/Susie Clifford
 7
                                                         Susie Clifford
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                                                                                      LAW OFFICES
     PLTF HARMONY GOLD’S NOTICE OF                                        CALFO EAKES & OSTROVSKY PLLC
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